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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO.


     THE LAW OFFICES OF JASON A. SETCHEN
     P.A.,
                                                                 Related Case: Brian Bowen, II v. Adidas
                  Petitioner/Movant,                             America, Inc., et al., Case No. 3:18-cv-
                                                                 3118JFA (D.S.C.)
          v.
                                                                 HEARING REQUESTED
     ADIDAS AMERICA, INC.,

                  Respondent.


      THE LAW OFFICES OF JASON A. SETCHEN, P.A.’S MOTION TO QUASH OR
     MODIFY DEPOSITION SUBPOENA AND MOTION FOR PROTECTIVE ORDER

         Pursuant to Federal Rules of Civil Procedure 26(c)(1) and 45(d)(3), The Law Offices of Jason

 A. Setchen, P.A.1 moves to quash or modify the Subpoena to Testify at a Deposition in a Civil Action

 served by Adidas America, Inc. (“Adidas”) in the action styled Brian Bowen, II v. Adidas America, Inc., et

 al., Case No. 3:18-cv-3118JFA pending in the United States District Court for the District of South

 Carolina (the “South Carolina Litigation”), and also moves for a protective order, and in support states

 as follows.

                                          INTRODUCTION

         In its latest defense tactic in the South Carolina Litigation brought by Brian Bowen II,

 Defendant Adidas has served Bowen’s personal attorney, Setchen, with both a subpoena for

 documents and a subpoena for deposition. After conferral on the areas of inquiry noticed for Setchen’s

 Rule 30(b)(6) deposition, it has become clear that Adidas’s primary purpose for taking the deposition




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  This motion will interchangeably refer to Jason A. Setchen, P.A. and its principal, Jason Setchen,
 Esq., as “Setchen.”


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 is to invade Setchen’s attorney work-product in representing his client.

        In particular, Adidas seeks to force Setchen to testify to the “steps and processes” that Setchen

 took on his client’s behalf to investigate certain payments that Adidas itself made to Bowen’s father

 in violation of NCAA rules, rendering Bowen ineligible to play top-tier college basketball and

 significantly damaging his future career. An attorney’s investigation on behalf of his client is

 quintessential work product, and revelation of Setchen’s investigative steps and processes would reveal

 Setchen’s mental impressions about what he thought was and was not relevant to the investigation.

        Furthermore, Adidas has no legitimate need for this testimony. Setchen has already produced

 troves of documents that demonstrate that Bowen had no knowledge of the payments Adidas

 improperly made to his father. This includes the same documents that Setchen produced to federal

 prosecutors, who then reached the obvious conclusion that Bowen is innocent. Adidas simply wants

 to harass the personal attorney of a plaintiff that dared to sue it. That is improper and a protective

 order or an order quashing the subpoena should be entered.

        Separately, a protective order should be entered to prevent Adidas from engaging in a tactic

 of deposing Setchen once as a Rule 30(b)(6) representative of his law firm and later issuing a subpoena

 for a subsequent deposition in Setchen’s individual capacity. One deposition for a nonparty is

 burdensome enough.

                                          BACKGROUND

        In November 2018, Bowen, once one of the most sought-after college basketball recruits in

 the country, brought the South Carolina Litigation against Adidas and others. See Brian Bowen, II v.

 Adidas America, Inc., et al., Case No. 3:18-cv-3118JFA (D.S.C.) (ECF No. 1). Bowen’s claims arise out

 of a now highly-publicized bribery conspiracy by Adidas, its executives, college coaches, and others to

 steer talented high-school basketball players to Adidas-sponsored universities and the Adidas brand.

 As alleged in Bowen’s operative complaint, Adidas and its co-defendants derailed his promising

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 basketball career when they engaged in a conspiracy to bribe Bowen’s father to persuade Bowen to

 play basketball for the University of Louisville, an Adidas-sponsored university. Id. (ECF No. 84). The

 bribe violated NCAA rules, rendering Bowen ineligible to play top-tier college basketball and thus

 having a significantly detrimental impact on his future career. Id.

         Setchen is an attorney based in Miami-Dade whose practice in part focuses on representing

 athletes, often in the context of representing student athletes in disciplinary or administrative

 proceedings with their school, conference, or the NCAA. After becoming ineligible pursuant to

 NCAA bylaws and regulations, Bowen retained Setchen in the fall of 2017 in an effort to gain

 reinstatement. Bowen remains Setchen’s client today. However, Setchen is Bowen’s personal attorney

 and is not counsel of record in the South Carolina Litigation.

         On February 2, 2021, more than two years into South Carolina Litigation, Adidas served

 Setchen with a subpoena to produce documents as well as a Rule 30(b)(6) deposition subpoena. See

 Ex. A, Subpoena for Documents; Ex. B, Subpoena for Deposition. The subpoenas require compliance

 in this district. Id. After Setchen retained the undersigned counsel, Adidas’s counsel and Setchen’s

 counsel conferred on both the document requests and the areas of inquiry for deposition. Since then,

 Setchen significantly narrowed his objections and expended dozens of unpaid hours searching for and

 compiling documents responsive to the subpoena. In total, he has produced more than 600 pages of

 documents, including more than 300 pages of communications with, and materials provided to, federal

 prosecutors, who determined Bowen was innocent of wrongdoing.

         As to the areas of inquiry for the Rule 30(b)(6) deposition (which the parties mutually agreed

 to reschedule for April 9, 2021), Adidas included the following topic: “Steps taken on behalf of Bowen

 Jr. to investigate payments received by his father relating to Bowen Jr.’s a) Participation on amateur

 basketball teams, or; b) College recruiting process.” See Ex. B. While Setchen largely agreed to testify




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 on the seven other noticed topics,2 this eighth topic is quintessential attorney work product. While

 Adidas’s counsel has recently agreed to not question Setchen about the “substance of his attorney-

 client communications in the context of his investigation into the relevant payments,” Adidas still

 intends to question Setchen “about the literal steps and processes that he and others took on Bowen

 Jr.’s behalf to investigate those payments.” Ex. C, Email from M. Forbes to J. Kahn (Apr. 5, 2021).

 That information is equally privileged and not subject to disclosure.

                                             ARGUMENT

     A. The deposition subpoena “must” be quashed because it requires disclosure of
        privileged or other protected matter and protective order should be entered.

         Under Rule 45(d)(3)(A)(iii), “the court for the district where compliance is required must

 quash or modify a subpoena that . . . requires disclosure of privileged or other protected matter, if no

 exception or waiver applies.” (emphasis added). Because the deposition subpoena requires disclosure

 of the steps and processes an attorney took to investigate a highly-sensitive matter on behalf of his

 client—clear protected work product—the deposition subpoena “must” be quashed or modified.

 Similarly, a protective order is appropriate under Rule 26(c), which authorizes the Court to “forbid[]

 inquiry into certain matters, or limit[] the scope of disclosure or discovery to certain matters.” Fed. R.

 Civ. P. 26(c)(1)(D).

         An attorney’s investigation on behalf of his client—including determinations of which

 documents to review, which witnesses to speak with, what questions to ask witnesses, and which leads

 to follow up on—is protected by the work-product doctrine. See Hickman v. Taylor, 329 U.S. 495, 511

 (1947) (“Proper preparation of a client’s case demands that he assemble information, sift what he

 considers to be the relevant from the irrelevant facts, prepare his legal theories and plan his strategy



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  This is subject to objections that may arise during questioning. For example, Setchen has made clear
 that communications with Carrie Malecke are confidential attorney-client communications, which he
 will not disclose.
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 without undue and needless interference.”); Shelton v. Am. Motors Corp., 805 F.2d 1323, 1329 (8th Cir.

 1986) (“We believe Burns’ selective review of AMC's numerous documents was based upon her

 professional judgment of the issues and defenses involved in this case. This mental selective process

 reflects Burns’ legal theories and thought processes, which are protected as work product.”); Sporck v.

 Peil, 759 F.2d 312, 316 (3d Cir. 1985) (“We believe that the selection and compilation of documents

 by counsel in this case in preparation for pretrial discovery falls within the highly-protected category

 of opinion work product. . . . ‘[T]he process of selection and distillation is often more critical than

 pure legal research.”); Phoenix Nat. Corp. v. Bowater United Kingdom Paper Ltd., 98 F.R.D. 669, 671 (N.D.

 Ga. 1983) (“Insofar as defendant’s question attempted to elicit from the witness specific questions

 that plaintiff's counsel posed to him, or even the area of the case to which he directed the majority of

 his questions, it exceeds the permissible bounds of discovery and begins to infringe on plaintiff’s

 counsel’s evaluation of the case.” (citation omitted)).

         The “dual purposes” that the work-product doctrine are designed to serve are “(1) to protect

 an attorney’s thought processes and mental impressions against disclosure; and (2) to limit the

 circumstances in which attorneys may piggyback on the fact-finding investigation of their more

 diligent counterparts.” Sandra T.E. v. S. Berwyn Sch. Dist. 100, 600 F.3d 612, 622 (7th Cir. 2010).

 Adidas’s proposed area of inquiry for deposition is calculated to flout both these purposes. The

 subpoena should be quashed or modified and a protective order should be entered.

     B. Adidas should be barred from further depositions of Setchen.

         As a separate issue, Adidas has noticed Setchen’s deposition as Rule 30(b)(6) deposition of

 Setchen’s law firm. And Adidas has refused to confirm that it will not subsequently subpoena Setchen

 for another deposition in his individual capacity. Setchen has already spent dozens of unpaid hours

 complying with Adidas’s broad document requests. He also requested that the current deposition be

 limited to four hours as he has a law practice to operate. Adidas has not agreed. Given Adidas’s

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 apparent insistence on a full seven-hour deposition and the amount of unpaid time that Setchen—a

 nonparty—has already spent acceding the Adidas’s demands, this Rule 30(b)(6) deposition should be

 the end of Adidas’s burdening of Setchen. If Adidas has questions for Setchen in his individual

 capacity, they should be asked at the Rule 30(b)(6) deposition. The Court should enter a protective

 order making clear that there will be only one deposition of Setchen.

     C. Adidas should pay Setchen’s fees and expenses for this motion.

         If a motion for a protective order is granted, courts generally must “require the party . . . whose

 conduct necessitated the motion . . . to pay the movant’s reasonable expenses incurred in making the

 motion, including attorney’s fees.” Fed. R. Civ. P. 37(a)(5)(A); see also Fed R. Civ. P. 26(c)(3) (stating

 “Rule 37(a)(5) applies to the award of expenses” for motions for protective orders). Upon an

 appropriate order, Setchen will provide records of his respective fees and expenses caused by Adidas’s

 unnecessary refusal to respect the work-product doctrine.

                                            CONCLUSION

         For the foregoing reasons, the Court should quash or modify the subpoena and enter a

 protective order prohibiting Adidas from questioning Setchen regarding steps he took on behalf of

 his client to investigate the payments made by Adidas and prohibiting a second deposition of Setchen.

 Setchen further seeks an award of his reasonable attorneys’ fees and costs in prosecuting this motion.

                                     REQUEST FOR HEARING

         Setchen believes that oral argument would assist the Court in adjudicating the issues raised in

 this motion and respectfully requests that the Court set a hearing on this motion.

                                 CERTIFICATE OF CONFERRAL

         I certify that I conferred with counsel for Adidas regarding the relief requested in this motion

 in a good-faith effort to avoid judicial intervention, but the parties were unable to reach an agreement.




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  Dated: April 5, 2021                              Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

         I certify that on April 5, 2021, I electronically filed the foregoing with the Clerk of the Court

 using the CM/ECF system, which in turn will serve a copy by Notice of Electronic Filing to all counsel

 of record, unless otherwise noted below.

  (By Email & U.S. Mail)                                (By Email & U.S. Mail)

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